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                        UNITED STATES DISTRICT COURT
                                                for the
                                       Southern District of Illinois


                                              NOTICE

          Pursuant to Title 28 U.S.C. §636(b) and Rule 73.1(b) of the Local Rules of Practice in the
   United States District Court for the Southern District of Illinois, any party may serve and file
   written OBJECTIONS to this Report and Recommendation/ Proposed Findings of Fact and
   Conclusions of Law within fourteen (14) days of service.
          Please note:       You are not to file an appeal as to the Report and
   Recommendation/Proposed Findings of Fact and Conclusions of Law. At this point, it is
   appropriate to file OBJECTIONS, if any, to the Report and Recommendation/ Proposed
   Findings of Fact and Conclusions of Law. An appeal is inappropriate until after the District
   Judge issues an Order either affirming or reversing the Report and Recommendation/ Proposed
   Findings of Fact and Conclusions of Law of the U.S. Magistrate Judge.
          Failure to file such OBJECTIONS shall result in a waiver of the right to appeal all issues,
   both factual and legal, which are addressed in the Report and Recommendation/Proposed
   Findings of Fact and Conclusions of Law. Video Views, Inc. v Studio 21, Ltd. and Joseph
   Sclafani, 797 F.2d 538 (7th Cir. 1986).


                        You should e-file/mail your OBJECTIONS to the
                    Clerk, U.S. District Court, at the address indicated below:

                            750 Missouri Ave., East St. Louis, IL 62201
